PROB 35                                                                        Report and Order Terminating Supervision
(Reg 3/93)                                                                              Prior to Original Expiration Date



                               UNITED STATES DISTRICT COURT
                                            FOR THE
                              EASTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

                       v.                                     Crim. No. 5:09-CR-288-1H

BRADFORD CHRISTIAN CALCOTE

       On September 1, 2017, the above named was released from prison and commenced a term of
supervised release for a period of 5 years. The offender has complied with the rules and regulations of
supervised release and is no longer in need of supervision. It is accordingly recommended that the offender
be discharged from supervision.

                                                      I declare under penalty of perjury that the foregoing
                                                      is true and correct.


                                                      /s/ Van R. Freeman, Jr.
                                                      Van R. Freeman, Jr.
                                                      Deputy Chief U.S. Probation Officer
                                                      150 Rowan Street Suite 110
                                                      Fayetteville, NC 28301
                                                      Phone: 910-354-2542
                                                      Executed On: January 6, 2021


                                           ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision and that
the proceedings in the case be terminated.
                         11th
             Dated this _________           January
                                  day of ____________________, 2021.




                                                             Malcolm J. Howard
                                                             Senior U.S. District Judge




                    Case 5:09-cr-00288-H Document 70 Filed 01/11/21 Page 1 of 1
